  Case 2:10-md-02179-CJB-DPC Document 12510-5 Filed 03/13/14 Page 1 of 5




                         Exhibit 4
TO UNITED STATES’ REPLY TO BPXP’S OPPOSITION TO MOTION IN LIMINE TO
PERMIT RELEVANT EVIDENCE CONCERNING BP P.L.C. AND ITS AFFILIATES
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